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 7                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 8                                          AT SEATTLE

 9
     UNITED STATES OF AMERICA,
10
                           Plaintiff,
11
                                                                   CASE NO. CR02-229-TSZ
            v.
12
                                                                   PROPOSED FINDINGS OF FACT
     RILEY MICHAEL DUNN,                                           AND DETERMINATION AS TO
13
                                                                   ALLEGED VIOLATIONS OF
                           Defendant.                              SUPERVISED RELEASE
14

15
                                              INTRODUCTION
16
            I conducted a hearing on alleged violations of supervised release in this case on December 27,
17
     2005. The United States was represented by Sarah Vogel, and defendant was represented by Michael
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     Nance. The proceedings were recorded on cassette tape.
19

20
                                        CONVICTION AND SENTENCE
21
            Defendant had been convicted on or about November 22, 2002 on a charge of conspiracy to
22
     distribute cocaine. The Hon. Thomas S. Zilly of this court sentenced defendant to thirty months of
23
     imprisonment, followed by five years of supervised release.
24

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26   PROPOSED FINDINGS - 1
         Case 2:02-cr-00229-TSZ          Document 157           Filed 12/27/05     Page 2 of 3



 1                                 PRIOR ALLEGATION OF VIOLATIONS

 2          In April of 2005, the court added a requirement for twenty hours of community service, after

 3   defendant failed to report for urinalysis testing on two occasions. In May of 2005, the probation

 4   officer reported defendant had used cocaine. With the court’s approval, the probation officer

 5   reprimanded defendant and imposed further testing requirements. In June of 2005, defendant tested

 6   positive for cocaine again. The court ordered 90 days home confinement with electronic monitoring.

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 8             PRESENTLY ALLEGED VIOLATIONS AND DEFENDANT'S ADMISSIONS

 9          In an application dated December 14, 2005, USPO Christopher Luscher alleged that defendant

10   violated the conditions of supervised release in four respects:

11          (1)     Use of cocaine on or about November 8, 2005;

12          (2)     Leaving the judicial district on or about November 8, 2005 (travel to and from Las

13                  Vegas) without permission of the court or probation officer;

14          (3)     Failing to answer truthfully all inquiries by the probation officer, and failing to follow

15                  his instructions, in November and December of 2005; and

16          (4)     Failing to submit written monthly report to the probation officer during the first five

17                  days of November, 2005.

18   At his initial appearance, defendant denied each of these charges, and the matter was set for an

19   evidentiary hearing on December 27, 2005. At that hearing, I again advised defendant as to his

20   constitutional rights, the nature of these charges, his right to an evidentiary hearing, and the maximum

21   penalties if the court found he had violated conditions as alleged. Defendant then admitted each of the

22   four alleged violations, waived any hearing as to whether they occurred, and consented to having the

23   matter set for a disposition hearing before Judge Zilly.

24

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26   PROPOSED FINDINGS - 2
           Case 2:02-cr-00229-TSZ        Document 157        Filed 12/27/05      Page 3 of 3



 1                          RECOMMENDED FINDINGS AND CONCLUSIONS

 2           Based upon the foregoing, I recommend the court find that defendant has violated the

 3   conditions of his supervised release in the four respects alleged above, and conduct a disposition

 4   hearing. That hearing has been set for January 21, 2006 at 11:00 a.m.

 5           Defendant has been detained pending a final determination by the court.

 6           DATED this 27th day of December, 2005.

 7

 8                                                 s/ John L. Weinberg
                                                   United States Magistrate Judge
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10

11   cc:     Sentencing Judge              :       Hon. Thomas S. Zilly
             Assistant U.S. Attorney       :       Sarah Vogel
12           Defense Attorney              :       Michael Nance
             U. S. Probation Officer       :       Christopher Luscher
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26   PROPOSED FINDINGS - 3
